4:15-cr-03078-JMG-CRZ      Doc # 183    Filed: 02/09/17   Page 1 of 1 - Page ID # 829




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )                 4:15CR3078
                                         )
             v.                          )
                                         )
PATRICK WIGLEY,                          )                   ORDER
                                         )
                   Defendant.            )
                                         )


       IT IS ORDERED that this matter is continued until further order of the court.
When the appeal has been concluded, counsel for the government shall notify my
judicial assistant so that a hearing date may be set on the pending Rule 35(b) motion.

      DATED this 9th day of February, 2017.

                                       BY THE COURT:

                                       s/ Richard G. Kopf
                                       Senior United States District Judge
